    Case 1:12-cr-00235-RJA-JJM        Document 909     Filed 01/24/17    Page 1 of 4



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_________________________________

UNITED STATES OF AMERICA,

            v.                                            12-CR-235-A
                                                     DECISION AND ORDER
DaSHAWN BRAZIER,

           Defendant.
_________________________________

     On September 12, 2016, the Court sentenced the Defendant to 140 months’

imprisonment and five years’ supervised release following his plea of guilty to one count

of engaging in a RICO conspiracy and one count of conspiring to possess with intent to

distribute, and to distribute, 280 grams or more of cocaine base. The Defendant did not

appeal his conviction or sentence, nor has he filed a petition for a writ of habeas corpus

pursuant to 28 U.S.C. § 2255. The Defendant has, however, filed a pro se motion for

free transcripts of his plea and sentencing proceedings. See Docket No. 898.

     The Defendant brings his motion pursuant to 28 U.S.C. § 753(f). In relevant part,

§ 753(f) provides:

              Fees for transcripts furnished in proceedings brought under
              [28 U.S.C. § 2255] to persons permitted to sue or appeal in
              forma pauperis shall be paid by the United States . . . if
              the trial judge or a circuit judge certifies that the suit or
              appeal is not frivolous and that the transcript is needed to
              decide the issue presented by the suit or appeal.

      For the reasons discussed below, the Defendant’s motion is not yet ripe and is

therefore denied without prejudice.




                                            1
       Case 1:12-cr-00235-RJA-JJM              Document 909          Filed 01/24/17       Page 2 of 4



                                               DISCUSSION

        As noted, the Defendant has yet to file a § 2255 petition challenging his

conviction or sentence. Instead, he states that he needs his plea and sentencing

transcripts “for inclusion in the record” of his anticipated § 2255 petition. Docket No. 898 at

2.

         The Defendant’s request for free transcripts is premature. The Second Circuit

 has made clear that “the plain language and necessary operation” of § 753(f) requires

 that “a motion for a free transcript . . . is not ripe until a § 2255 motion has been

 filed.” United States v. Horvath, 157 F.3d 131, 132 (2d Cir. 1998). This is so for two

 reasons.      First, § 753(f) refers to “proceedings brought under section 2255.”

 (emphasis added).         That, of course, has not yet happened in this case; the entire

 purpose of the Defendant’s motion is to aid him in bringing a § 2255 proceeding—not to

 assist him in pursuing a § 2255 petition that he has already “brought.” And second,

 § 753(f) requires a judge’s certification “that the transcript is needed to decide the issue

 presented by the suit or appeal.”           That, too, cannot happen until the Defendant files a

 § 2255 petition. Without such a filing, the Court has no way to evaluate “the issue

 presented” by the Defendant’s petition. See Horvath, 157 F.3d at 132.                       Section 753(f)

 thus clearly prevents the Defendant from obtaining free transcripts until he files a § 2255

 petition. 1

         The Court notes that, even without a transcript, the Defendant is not foreclosed

 from filing his § 2255 petition.           A § 2255 petition “need only set forth the movant’s

 1
  Section 753(f) also provides that, to quality for a free transcript, the Defendant must be proceeding in forma
 pauperis. The Defendant, however, has not yet filed an application to proceed in forma pauperis. A copy of
 such form will be mailed to the Defendant, together with a copy of this Decision and Order.


                                                       2
     Case 1:12-cr-00235-RJA-JJM         Document 909      Filed 01/24/17    Page 3 of 4



claims of error generally.”       Id. (citing Rule Governing Section 2255 Proceedings

2(b)).   As the Second Circuit has observed, “[p]resumably, a movant who can plead

facts sufficient to obtain certification under § 753(f) will be able to satisfy the non-

onerous pleading standards for a § 2255 motion.” Id. at 133. See also id. (noting that

the Second Circuit’s interpretation of § 753(f) “dovetails with the standard for summary

dismissal because ‘the motion and the files of the case’ will not ‘conclusively’ defeat a

§ 2255 motion if a transcript is needed to decide a non-frivolous issue presented by the

motion”) (quoting 28 U.S.C. § 2255(b)).

                                       CONCLUSION

         For the reasons stated above, the Defendant’s motion for free transcripts of his plea

and sentencing proceedings is DENIED as unripe;

         It is hereby ORDERED that a copy of this Decision and Order, together with an

application to proceed in forma pauperis, and a copy of the Defendant’s Judgment and

Commitment Order (Docket No. 839), be mailed to the Defendant.

SO ORDERED.


Dated: January 21, 2017                           ___s/Richard J. Arcara_____________
       Buffalo, New York                          HONORABLE RICHARD J. ARCARA
                                                  UNITED STATES DISTRICT JUDGE




                                              3
Case 1:12-cr-00235-RJA-JJM   Document 909   Filed 01/24/17   Page 4 of 4




                                  4
